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14
                               UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
16
     THERESA SWEET, ALICIA DAVIS, TRESA                Case No. 19-cv-03674-WHA
17
     APODACA, CHENELLE ARCHIBALD,
18   DANIEL DEEGAN, SAMUEL HOOD, and                   [PROPOSED] SCHEDULE FOR FINAL
     JESSICA JACOBSON on behalf of themselves          APPROVAL OF SETTLEMENT
19   and all others similarly situated,
20
            Plaintiffs,
21
            v.
22
     MIGUEL CARDONA, in his official capacity
23
     as Secretary of the United States Department of
24   Education, and

25   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
26
27                   Defendants.

28
                 [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF SETTLEMENT
                                     Case No: 19-cv-03674-WHA
             Case 3:19-cv-03674-WHA Document 315 Filed 08/09/22 Page 2 of 3




1           Having granted preliminary approval of the proposed class action settlement, ECF No. 307,
2    the Court adopts the following schedule for final approval:
3       1. By August 19, 2022, Defendants will email all Class Members the Notice attached as
4           Exhibit A to the Settlement Agreement. Defendants will send a postal mail copy of the
5           notice to all Class Members for whom they do not have an email address or for whom they
6           have received notice that the prior email was undeliverable.
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        2. Between the Execution Date and the Fairness Hearing, Defendants shall direct all inquiries
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            from Class Members regarding the Agreement to Plaintiffs’ Counsel.
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        3. Each Class Member will have the opportunity to comment on the Proposed Settlement.
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            Class Members must submit any comments to the Settlement Agreement in writing to the
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            Court, with copies served on all Parties’ counsel. Comments must be submitted on or
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            before September 15, 2022.
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        4. The Parties must move for final approval on or before September 22, 2022.
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        5. If this Court grants any motion to intervene, Intervenors must respond in opposition to the
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            motion for final approval on or before October 6, 2022. Any replies will be due on October
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            13, 2022.
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        6. No later than 3 days prior to the Fairness Hearing for Final Approval, Defendants must file
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19          an affidavit attesting that they provided the notice referenced in Paragraph 1 to all Class

20          Members.

21      7. The Fairness Hearing for Final Approval is scheduled for November 3, 2022, at 11 am.

22          Information about the hearing, including the process for Class Member participation and

23          virtual attendance, will be posted by Plaintiffs’ counsel at https://ppsl.org/cases/sweet-v-

24          cardona. Counsel shall appear in person, unless travel restrictions or public building
25          closures prevent in-person appearances.
26      8. The Fairness Hearing may, from time to time and without further notice to the Class, be
27          continued or adjourned by order of the Court.
28

                        [PROPOSED] SCHEDULE FOR FINAL APPROVAL OF SETTLEMENT
                                        Case No: 19-cv-03674-WHA
                                                      1
            Case 3:19-cv-03674-WHA Document 315 Filed 08/09/22 Page 3 of 3




1          IT IS SO ORDERED.
2
3
4            August 9, 2022
     Dated: _______________________                   ______________________
                                                      William H. Alsup
5                                                     United States District Judge
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                   [PROPOSED] SCHEDULE FOR FINAL APPROVAL OF SETTLEMENT
                                   Case No: 19-cv-03674-WHA
                                            2
